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                                UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS




 Lisa Ricchio,                                  Civil Action No.: 1:15-cv-13519-FDS

                   Plaintiff,

        and

 Peerless Indemnity Insurance Company,

                   Intervenor-Plaintiff,

        v.

 Bijal, Inc. d/b/a/ Shangri-La Motel,
 Ashvinkumar Patel, Sima Patel, and Clark
 McLean,

                   Defendants.



         PLAINTIFF LISA RICCHIO’S STIPULATION OF DISMISSAL UNDER
                          FED. R. CIV. P. 41(a)(1)(A)(ii)

      Plaintiff Lisa Ricchio hereby submits a stipulation of dismissal of her claims against

Defendants Bijal, Inc., Ashvinkumar Patel, and Sima Patel, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii).      Parties Lisa Ricchio, Peerless Indemnity Insurance Co., Bijal, Inc.,

Ashvinkumar Patel, and Sima Patel have signed below. See id. All parties to this stipulation

hereby waive all rights of appeal from the above-captioned matter.

      Per this Court’s order on December 2, 2019, Defendant Clark McLean has defaulted and

Ms. Ricchio’s claims against him have been severed from the above-captioned claims.
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Dated: December 13, 2019            Respectfully submitted,



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                                CERTIFICATE OF SERVICE

        I, Cynthia Vreeland, hereby certify that a true copy of this document filed through the
ECF system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) on December 13, 2019. In addition, I hereby certify that a true copy
of the above document will be mailed by First Class Mail on December 13, 2019, to:

                                         Clark McLean
                                     39 O’Donnell Drive
                                     Attleboro, MA 02073


                                                     /s/ Cynthia Vreeland
                                                     Cynthia Vreeland
